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16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Reply in Support of Motion for Partial Summary Judgment (the

 5   “Summary Judgment Reply”), certain exhibits to the Reply Declaration of Micah G. Block in Support

 6   of Plaintiffs’ Summary Judgment Reply (the “Block Reply Declaration”), and the Reply Declaration

 7   of David Youssef in Support of Plaintiffs’ Summary Judgment Reply (the “Youssef Reply

 8   Declaration”) and certain exhibits thereto (the “Confidential Materials”), should be sealed.

 9           The Confidential Materials contain, refer to, or derive from, documents that NSO and/or

10   nonparty Joshua Shaner have designated as Confidential or Highly Confidential-Attorneys’ Eyes

11   Only pursuant to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action and/or

12   previously sought leave to file under seal. Accordingly, Plaintiffs now move the Court to consider

13   whether the Confidential Materials should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs

14   specifically reserve the right to challenge any confidentiality designations as well as the sealability

15   of the materials at issue.

16           This motion and copies of any relevant attachments will be served on all non-parties by email,

17   since they have not appeared in this action.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH        Document 436          Filed 10/18/24    Page 3 of 3




 1    Dated: October 18, 2024                    Respectfully Submitted,

 2                                               DAVIS POLK & WARDWELL LLP
 3
                                                 By: /s/ Craig T. Cagney
 4
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19
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